                       Case 3:19-mj-08067-MAT Document 1 Filed 08/26/19 Page 1 of 2
AO 442 (REV. 12/85)




                            UNITED STATES DISTRICT COURT
                                                                                                     FILED
                                                                                                   08/26/2019
                             WESTERN DISTRICT OF TEXAS, EL PASO DIVISION                    Clerk, U.S. District Court
                                                                                            Western District of Texas


                                                                                    By:             RRV
                                                                                                     Deputy




USA                                                         §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: EP:19-M -08067(1) - MAT
                                                            §
(1) YUSMARY FONSECA-BLANCO                                  §


                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about 08/22/2019 in El Paso county, in the WESTERN DISTRICT OF

TEXAS defendant did, being an alien to the United States, knowingly enter and attempt to enter the United

States at a time and place other than as designated by immigration officers in violation of Title 8 United

States Code, Section(s) 1325(a)(1).

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "The DEFENDANT, Yusmary FONSECA-Blanco, an alien to the United States and a citizen of

Cuba, entered the United States from the Republic of Mexico on August 22, 2019, approximately .5 miles east

of Paso Del Norte, Texas Port of Entry in El Paso, Texas, in the Western District of Texas. The place where

the DEFENDANT entered is not designated as a Port of Entry by immigration officers."

Continued on the attached sheet and made a part of hereof:                                          X Yes                No




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant
                                                                           Juarez, Enrique B
                                                                           Border Patrol Agent

08/26/2019                                                            at   EL PASO, Texas
File Date                                                                  City and State




MIGUEL A. TORRES                                                           ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
CONTINUATION OFCase 3:19-mj-08067-MAT
                CRIMINAL COMPLAINT             Document 1 Filed 08/26/19 Page 2 of 2

WESTERN DISTRICT OF TEXAS

(1) YUSMARY FONSECA-BLANCO

FACTS   (CONTINUED)

The DEFENDANT, Yusmary FONSECA-Blanco, an alien to the United States and a citizen of Cuba, entered the
United States from the Republic of Mexico on August 22, 2019, approximately .5 miles east of Paso Del
Norte, Texas Port of Entry in El Paso, Texas, in the Western District of Texas. The place where the
DEFENDANT entered is not designated as a Port of Entry by immigration officers.

Because this Affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.

IMMIGRATION HISTORY:
NONE

CRIMINAL HISTORY:
NONE
